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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                         )     Criminal No. 3:18-cr-00599 VC
14                                                     )
             Plaintiff,                                )    UNITED STATES’ FIRST AMENDED EXHIBIT
15                                                     )    LIST
        v.                                             )
16                                                     )
     ISAI ULISES VILLAGOMEZ,                           )    Judge:               Hon. Vince Chhabria
17                                                     )    Pretrial Conf.:      March 7, 2022
             Defendant.                                )    Time:                1:00 p.m.
18                                                     )    Trial Date:          March 14, 2022

19
             The United States of America hereby submits its first amended list of prospective exhibits it may
20
     seek to introduce into evidence at trial. The United States reserves its rights, in keeping with the Federal
21
     Rules of Criminal Procedure, to expand or modify this list before trial and to offer additional exhibits as
22
     may be necessary during trial.
23

24

25

26

27

28

     GOV’T FIRST AMENDED EXHIBIT LIST                 1
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 1    Exhibit    Description                              Bates Range   Date Marked   Date Admitted
      1          Brick of heroin seized from
 2               Villagomez’s vehicle on 11/5/18
      2          Photograph of Villagomez’s vehicle       VILLAGOMEZ-
 3                                                        000001
      3          Photograph of Villagomez at arrest       VILLAGOMEZ-
 4                                                        000004
      4          Photograph of Villagomez at arrest       VILLAGOMEZ-
 5                                                        000005
      5          Photograph of vehicle VIN number         VILLAGOMEZ-
 6                                                        000008
      6          Photo of heroin seized from              VILLAGOMEZ-
 7               Villagomez’s vehicle on 11/5/18.         000009
      7          Photograph of plastic bag from           VILLAGOMEZ-
 8               Villagomez’s vehicle on 11/5/18.         000010
      8          Photograph of black Adidas bag in        VILLAGOMEZ-
 9               Villagomez’s vehicle on 11/5/18.         000011
      9          Photograph of Coach wallet removed       VILLAGOMEZ-
10               from black Adidas bag in                 000012
                 Villagomez’s vehicle on 11/5/18.
11    10         Photograph of Villagomez driver’s        VILLAGOMEZ-
                 license removed from Coach wallet        000013
12               removed from black Adidas bag in
                 Villagomez’s vehicle on 11/5/18.
13    11         Photograph of Villagomez’s               VILLAGOMEZ-
                 California ID seized during his arrest   000014
14               on 11/5/18
      12         Photograph of Tubes, Lubes, &            VILLAGOMEZ-
15               Smogs invoice removed from               000016
                 Villagomez’s vehicle on 11/5/18.
16    13         Photograph of parking citation from      VILLAGOMEZ-
                 11/5/18                                  000017
17
      14         Photograph of bags and IDs               VILLAGOMEZ-
                                                          000018
18
      15         Photo of heroin seized and weighed       VILLAGOMEZ-
19               from Villagomez’s vehicle on             000021
                 11/5/18.
20    16         CLET criminal history report for         VILLAGOMEZ-
                 Villagomez.                              000024-30
21    17         SFPD incident report for                 VILLAGOMEZ-
                 Villagomez’s 11/5/18 arrest.             000041-47
22    18         Body camera footage for SFPD             VILLAGOMEZ-
                 Officer Clifford.                        000050
23    19         Body camera footage for SFPD             VILLAGOMEZ-
                 Officer Nestor.                          000051
24    20         CLET criminal history report for         VILLAGOMEZ-
                 Villagomez.                              000052-60
25    21         DEA Western Laboratory Chemical          VILLAGOMEZ-
                 Analysis Report for case number R3-      000071
26               19-0019
      22         DEA Report of Investigation dated 8-     VILLAGOMEZ-
27               19-2020                                  000072
      23         DEA Report of Investigation dated        VILLAGOMEZ-
28               11-12-2020                               000204-06
      24         Photo of Villagomez’s driver’s           VILLAGOMEZ-
     GOV’T FIRST AMENDED EXHIBIT LIST                     2
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 1    Exhibit    Description                            Bates Range    Date Marked   Date Admitted
                 license sent by Villagomez to the CI   000215.
 2               on 11/5/18.
      25         CV of Dr. Charmain Qiu, PH.D           VILLAGOMEZ-
 3                                                      000324
      26         T-Mobile records                       VILLAGOMEZ-
 4                                                      000860-62
      27         T-Mobile records                       VILLAGOMEZ-
 5                                                      000871-81
      28         Disclosure for Austin Curnow           [Produced on
 6                                                      2/16/1990]
      29         Callyo Records – 2021-11-              VILLAGOMEZ-
 7               10_165426_PST_646-916-4695.csv         RECORDINGS-
                                                        000285-288
 8    30         Callyo Records – 2021-11-              VILLAGOMEZ-
                 10_165426_PST_646-916-                 RECORDINGS-
 9               4695 Printer Friendly.xlsx             000289-292
      31         Callyo Records – 2021-11-              VILLAGOMEZ-
10               10_165426_PST_646-916-4695.csv         RECORDINGS-
                                                        000293-294
11    32         Callyo Records – 2021-11-              VILLAGOMEZ-
                 10_165426_PST_646-916-                 RECORDINGS-
12               4695 Printer Friendly.xlsx             000295-296
      33         Callyo Records – 2018-10-25_13-02-     VILLAGOMEZ-
13               54_PDT.wav                             RECORDINGS-
                                                        000297
14    34         Callyo Records – 2018-10-25_13-02-     VILLAGOMEZ-
                 54_PDT_Bilingual_Final.docx            RECORDINGS-
15                                                      000298
      35         Callyo Records – 2018-10-25_13-08-     VILLAGOMEZ-
16               11_PDT.wav                             RECORDINGS-
                                                        000299
17    36         Callyo Records – 2018-10-25_13-08-     VILLAGOMEZ-
                 11_PDT_Bilingual_Final.docx            RECORDINGS-
18                                                      000300-305
      37         Callyo Records – 2018-10-29_22-01-     VILLAGOMEZ-
19
                 27_PDT.wav                             RECORDINGS-
                                                        000306
20
      38         Callyo Records – 2018-10-29_22-01-     VILLAGOMEZ-
21               27_PDT_Bilingual_Final.docx            RECORDINGS-
                                                        000307
22    39         Callyo Records – 2018-10-29_22-02-     VILLAGOMEZ-
                 57_PDT.wav                             RECORDINGS-
23                                                      000308
      40         Callyo Records – 2018-10-29_22-02-     VILLAGOMEZ-
24               57_PDT_Bilingual_Final.docx            RECORDINGS-
                                                        000309
25    41         Callyo Records –                       VILLAGOMEZ-
                 2018-10-29_22-26-05_PDT.wav            RECORDINGS-
26                                                      000310
      42         Callyo Records – 2018-10-29_22-26-     VILLAGOMEZ-
27               05_PDT_Bilingual_Final.docx            RECORDINGS-
                                                        000311
28    43         Callyo Records – 2018-10-30_09-11-     VILLAGOMEZ-
                 11 PDT.wav                             RECORDINGS-
     GOV’T FIRST AMENDED EXHIBIT LIST                   3
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 1    Exhibit    Description                           Bates Range   Date Marked   Date Admitted
                                                       000312
 2    44         Callyo Records – 2018-10-30_09-11-    VILLAGOMEZ-
                 11_PDT_Bilingual_Final.docx           RECORDINGS-
 3                                                     000313-16
      45         Callyo Records – 2018-10-30_09-18-    VILLAGOMEZ-
 4               35_PDT.wav                            RECORDINGS-
                                                       000317
 5    46         Callyo Records – 2018-10-30_09-18-    VILLAGOMEZ-
                 35_PDT_Bilingual_Final.docx           RECORDINGS-
 6                                                     000318-19
      47         Callyo Records -- 2018-10-30_12-13-   VILLAGOMEZ-
 7               22_PDT.wav                            RECORDINGS-
                                                       000320
 8    48         Callyo Records – 2018-10-30_12-13-    VILLAGOMEZ-
                 22_PDT_Bilingual_Final.docx           RECORDINGS-
 9                                                     000321-24
      49         Callyo Records – 2018-10-30_12-36-    VILLAGOMEZ-
10               00_PDT.wav                            RECORDINGS-
                                                       000325
11    50         Callyo Records – 2018-10-30_12-36-    VILLAGOMEZ-
                 00_PDT_Bilingual_Final.docx           RECORDINGS-
12                                                     000326
      51         Callyo Records – 2018-10-30_12-40-    VILLAGOMEZ-
13               24_PDT.wav                            RECORDINGS-
                                                       000327
14    52         Callyo Records – 2018-10-30_12-40-    VILLAGOMEZ-
                 24_PDT_Bilingual_Final.docx           RECORDINGS-
15                                                     000328-30
      53         Callyo Records – 2018-10-30_13-20-    VILLAGOMEZ-
16               06_PDT.wav                            RECORDINGS-
                                                       000331
17    54         Callyo Records – 2018-10-30_13-20-    VILLAGOMEZ-
                 06_PDT_Bilingual_Final.docx           RECORDINGS-
18                                                     000332-33
      55         Callyo Records – 2018-10-30_13-57-    VILLAGOMEZ-
19               51_PDT.wav                            RECORDINGS-
                                                       000334
20
      56         Callyo Records – 2018-10-30_13-57-    VILLAGOMEZ-
                 51_PDT_Bilingual_Final.docx           RECORDINGS-
21
                                                       000335
22    57         Callyo Records – 2018-10-30_14-12-    VILLAGOMEZ-
                 02_PDT.wav                            RECORDINGS-
23                                                     000336
      58         Callyo Records – 2018-10-30_14-12-    VILLAGOMEZ-
24               02_PDT_Bilingual_Final.docx           RECORDINGS-
                                                       000337-38
25    59         Callyo Records –                      VILLAGOMEZ-
                 2018-10-30_14-44-03_PDT.wav           RECORDINGS-
26                                                     000339
      60         Callyo Records – 2018-10-30_14-44-    VILLAGOMEZ-
27               03_PDT_Bilingual_Final.docx           RECORDINGS-
                                                       000340
28    61         Callyo Records – 2018-10-30_15-34-    VILLAGOMEZ-
                 14 PDT.wav                            RECORDINGS-
     GOV’T FIRST AMENDED EXHIBIT LIST                  4
     18-CR-599 VC
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 1    Exhibit    Description                          Bates Range   Date Marked   Date Admitted
                                                      000341
 2    62         Callyo Records – 2018-10-30_15-34-   VILLAGOMEZ-
                 14_PDT_Bilingual_Final.docx          RECORDINGS-
 3                                                    000342
      63         Callyo Records – 2018-10-30_15-50-   VILLAGOMEZ-
 4               16_PDT.wav                           RECORDINGS-
                                                      000343
 5    64         Callyo Records – 2018-10-30_15-50-   VILLAGOMEZ-
                 16_PDT_Bilingual_Final.docx          RECORDINGS-
 6                                                    000344
      65         Callyo Records – 2018-10-30_19-53-   VILLAGOMEZ-
 7               35_PDT.wav                           RECORDINGS-
                                                      000345
 8    66         Callyo Records – 2018-10-30_19-53-   VILLAGOMEZ-
                 35_PDT_Bilingual_Final.docx          RECORDINGS-
 9                                                    000346
      67         Callyo Records – 2018-10-31_09-03-   VILLAGOMEZ-
10               11_PDT.wav                           RECORDINGS-
                                                      000347
11    68         Callyo Records – 2018-10-31_09-03-   VILLAGOMEZ-
                 11_PDT_Bilingual_Final.docx          RECORDINGS-
12                                                    000348
      69         Callyo Records – 2018-10-31_16-03-   VILLAGOMEZ-
13               17_PDT_Bilingual_Final.docx          RECORDINGS-
                                                      000349-54
14    70         Callyo Records – 2018-10-31_16-07-   VILLAGOMEZ-
                 15_PDT.wav                           RECORDINGS-
15                                                    000355
      71         Callyo Records – 2018-10-31_16-07-   VILLAGOMEZ-
16               15_PDT_Bilingual_Final.docx          RECORDINGS-
                                                      000356
17    72         Callyo Records – 2018-10-31_21-20-   VILLAGOMEZ-
                 44_PDT.wav                           RECORDINGS-
18                                                    000357
      73         Callyo Records – 2018-10-31_21-20-   VILLAGOMEZ-
19               44_PDT_Bilingual_Final.docx          RECORDINGS-
                                                      000358-59
20
      74         Callyo Records – 2018-10-31_22-55-   VILLAGOMEZ-
                 34_PDT.wav                           RECORDINGS-
21
                                                      000360
22    75         Callyo Records – 2018-10-31_22-55-   VILLAGOMEZ-
                 34_PDT_Bilingual_Final.docx          RECORDINGS-
23                                                    000361-80
      76         Callyo Records – 2018-11-01_17-08-   VILLAGOMEZ-
24               27_PDT.wav                           RECORDINGS-
                                                      000381
25    77         Callyo Records –                     VILLAGOMEZ-
                 2018-11-01_17-08-                    RECORDINGS-
26               27_PDT_Bilingual_Final.docx          000382-89

27    78         Callyo Records – 2018-10-25_14-48-   VILLAGOMEZ-
                 51_PDT_e8d501.jpg                    RECORDINGS-
28                                                    000390
      79         Callyo Records – 2018-10-25 14-49-   VILLAGOMEZ-
     GOV’T FIRST AMENDED EXHIBIT LIST                 5
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 1    Exhibit    Description                          Bates Range   Date Marked   Date Admitted
                 00_PDT_4b9701.mp4                    RECORDINGS-
 2                                                    000391
      80         Callyo Records – 2018-10-30_16-10-   VILLAGOMEZ-
 3               27_PDT_eeb201.png                    RECORDINGS-
                                                      000392
 4    81         Callyo Records – 2018-10-26_17-54-   VILLAGOMEZ-
                 40_PDT_159a_01.txt                   RECORDINGS-
 5                                                    000393
      82         Callyo Records – 2018-10-29_22-04-   VILLAGOMEZ-
 6               06_PDT_fdef_01.txt                   RECORDINGS-
                                                      000394
 7    83         Callyo Records – 2018-10-30_13-55-   VILLAGOMEZ-
                 29_PDT_1612_01.txt                   RECORDINGS-
 8                                                    000395
      84         Callyo Records – 2018-10-30_13-58-   VILLAGOMEZ-
 9               37_PDT_86dc_01.txt                   RECORDINGS-
                                                      000396
10    85         Callyo Records – 2018-10-30_15-31-   VILLAGOMEZ-
                 34_PDT_7998_01.txt                   RECORDINGS-
11                                                    000397
      86         Callyo Records – 2018-10-30_15-35-   VILLAGOMEZ-
12               07_PDT_5ddf_01.txt                   RECORDINGS-
                                                      000398
13    87         Callyo Records – 2018-10-30_20-08-   VILLAGOMEZ-
                 03_PDT_db28_01.txt                   RECORDINGS-
14                                                    000399
      88         Callyo Records – 2018-10-31_18-26-   VILLAGOMEZ-
15               45_PDT_5bc1_01.txt                   RECORDINGS-
                                                      000400
16    89         Callyo Records – 2018-10-31_21-25-   VILLAGOMEZ-
                 59_PDT_0ea3_01.txt                   RECORDINGS-
17                                                    000401
      90         Callyo Records – 2018-10-31_22-35-   VILLAGOMEZ-
18               56_PDT_dae6_01.txt                   RECORDINGS-
                                                      000402
19    91         Callyo Records – 2018-11-01_13-18-   VILLAGOMEZ-
                 15_PDT_ac36_01.txt                   RECORDINGS-
20                                                    000403
      92         Callyo Records – 2018-11-01_13-19-   VILLAGOMEZ-
21
                 02_PDT_71c1_01.txt                   RECORDINGS-
                                                      000404
22
      93         Callyo Records – 2018-11-01_13-58-   VILLAGOMEZ-
23               28_PDT_0efa_01.txt                   RECORDINGS-
                                                      000405
24    94         Callyo Records – 2021-11-            VILLAGOMEZ-
                 10_165426_PST_646-916-4695.csv       RECORDINGS-
25                                                    000406-07
      95         Callyo Records –                     VILLAGOMEZ-
26               2021-11-10_165426_PST_646-916-       RECORDINGS-
                 4695_Printer_Friendly.xlsx           000408-09
27
      96         Callyo Records – 2018-11-04_12-53-   VILLAGOMEZ-
28               41_PST.wav                           RECORDINGS-
                                                      000410
     GOV’T FIRST AMENDED EXHIBIT LIST                 6
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 1    Exhibit    Description                          Bates Range   Date Marked   Date Admitted
      97         Callyo Records – 2018-11-04_12-53-   VILLAGOMEZ-
 2               41_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000411-13
 3    98         Callyo Records – 2018-11-04_13-31-   VILLAGOMEZ-
                 07_PST.wav                           RECORDINGS-
 4                                                    000414
      99         Callyo Records – 2018-11-04_13-31-   VILLAGOMEZ-
 5               07_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000415-17
 6    100        Callyo Records – 2018-11-04_13-37-   VILLAGOMEZ-
                 04_PST.wav                           RECORDINGS-
 7                                                    000418
      101        Callyo Records – 2018-11-04_13-37-   VILLAGOMEZ-
 8               04_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000419-22
 9    102        Callyo Records – 2018-11-04_13-48-   VILLAGOMEZ-
                 25_PST.wav                           RECORDINGS-
10                                                    000423
      103        Callyo Records – 2018-11-04_13-48-   VILLAGOMEZ-
11               25_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000424-26
12    104        Callyo Records – 2018-11-04_14-01-   VILLAGOMEZ-
                 33_PST.wav                           RECORDINGS-
13                                                    000427
      105        Callyo Records – 2018-11-04_14-01-   VILLAGOMEZ-
14               33_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000428-32
15    106        Callyo Records – 2018-11-04_18-07-   VILLAGOMEZ-
                 18_PST.wav                           RECORDINGS-
16                                                    000433
      107        Callyo Records – 2018-11-04_18-07-   VILLAGOMEZ-
17               18_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000434-35
18    108        Callyo Records – 2018-11-04_22-53-   VILLAGOMEZ-
                 28_PST.wav                           RECORDINGS-
19                                                    000436
      109        Callyo Records – 2018-11-04_22-53-   VILLAGOMEZ-
20               28_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000437-38
21
      110        Callyo Records – 2018-11-04_22-54-   VILLAGOMEZ-
                 25_PST.wav                           RECORDINGS-
22
                                                      000439
23    111        Callyo Records – 2018-11-04_22-54-   VILLAGOMEZ-
                 25_PST_Bilingual_Final.docx          RECORDINGS-
24                                                    000440
      112        Callyo Records – 2018-11-05_07-13-   VILLAGOMEZ-
25               36_PST.wav                           RECORDINGS-
                                                      000441
26    113        Callyo Records – 2018-11-05_07-13-   VILLAGOMEZ-
                 36_PST_Bilingual_Final.docx          RECORDINGS-
27                                                    000442
      114        Callyo Records – 2018-11-05_07-15-   VILLAGOMEZ-
28               43_PST.wav                           RECORDINGS-
                                                      000443
     GOV’T FIRST AMENDED EXHIBIT LIST                 7
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 1    Exhibit    Description                          Bates Range   Date Marked   Date Admitted
      115        Callyo Records – 2018-11-05_07-15-   VILLAGOMEZ-
 2               43_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000444-445
 3    116        Callyo Records – 2018-11-05_07-48-   VILLAGOMEZ-
                 26_PST.wav                           RECORDINGS-
 4                                                    000446
      117        Callyo Records – 2018-11-05_07-48-   VILLAGOMEZ-
 5               26_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000447
 6    118        Callyo Records – 2018-11-05_09-44-   VILLAGOMEZ-
                 11_PST.wav                           RECORDINGS-
 7                                                    000448
      119        Callyo Records – 2018-11-05_09-44-   VILLAGOMEZ-
 8               11_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000449-50
 9    120        Callyo Records – 2018-11-05_10-46-   VILLAGOMEZ-
                 24_PST.wav                           RECORDINGS-
10                                                    000451
      121        Callyo Records – 2018-11-05_10-46-   VILLAGOMEZ-
11               24_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000452-53
12    122        Callyo Records – 2018-11-05_11-06-   VILLAGOMEZ-
                 35_PST.wav                           RECORDINGS-
13                                                    000454
      123        Callyo Records – 2018-11-05_11-06-   VILLAGOMEZ-
14               35_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000455
15    124        Callyo Records – 2018-11-05_11-07-   VILLAGOMEZ-
                 19_PST.wav                           RECORDINGS-
16                                                    000456
      125        Callyo Records – 2018-11-05_11-07-   VILLAGOMEZ-
17               19_PST_Bilingual_Final.docx          RECORDINGS-
                                                      000457
18    126        Callyo Records – 2018-11-04_13-39-   VILLAGOMEZ-
                 06_PST_f6d2_01.txt                   RECORDINGS-
19                                                    000458
      127        Callyo Records – 2018-11-04_13-51-   VILLAGOMEZ-
20               54_PST_8ca6_01.txt                   RECORDINGS-
                                                      000459
21
      128        Callyo Records – 2018-11-04_14-04-   VILLAGOMEZ-
                 36_PST_b17a_01.txt                   RECORDINGS-
22
                                                      000460
23    129        Callyo Records – 2018-11-04_17-56-   VILLAGOMEZ-
                 42_PST_f4df_01.txt                   RECORDINGS-
24                                                    000461
      130        Callyo Records – 2018-11-04_18-12-   VILLAGOMEZ-
25               27_PST_0fe3_01.txt                   RECORDINGS-
                                                      000462
26    131        Callyo Records – 2018-11-04_22-55-   VILLAGOMEZ-
                 59_PST_36a6_01.txt                   RECORDINGS-
27                                                    000463
      132        Callyo Records – 2018-11-04_23-08-   VILLAGOMEZ-
28               06_PST_87fb_01.txt                   RECORDINGS-
                                                      000464
     GOV’T FIRST AMENDED EXHIBIT LIST                 8
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 1    Exhibit    Description                          Bates Range   Date Marked   Date Admitted
      133        Callyo Records – 2018-11-04_23-09-   VILLAGOMEZ-
 2               00_PST_31ff_01.txt                   RECORDINGS-
                                                      000465
 3    134        Callyo Records – 2018-11-04_23-09-   VILLAGOMEZ-
                 13_PST_524c_01.txt                   RECORDINGS-
 4                                                    000466
      135        Callyo Records – 2018-11-04_23-10-   VILLAGOMEZ-
 5               13_PST_f762_01.txt                   RECORDINGS-
                                                      000467
 6    136        Callyo Records – 2018-11-04_23-10-   VILLAGOMEZ-
                 41_PST_65ed_01.txt                   RECORDINGS-
 7                                                    000468
      137        Callyo Records – 2018-11-04_23-10-   VILLAGOMEZ-
 8               48_PST_a5e3_01.txt                   RECORDINGS-
                                                      000469
 9    138        Callyo Records – 2018-11-04_23-11-   VILLAGOMEZ-
                 38_PST_026a_01.txt                   RECORDINGS-
10                                                    000470
      139        Callyo Records – 2018-11-04_23-15-   VILLAGOMEZ-
11               10_PST_8c7a_01.txt                   RECORDINGS-
                                                      000471
12    140        Callyo Records – 2018-11-04_23-18-   VILLAGOMEZ-
                 51_PST_e505_01.txt                   RECORDINGS-
13                                                    000472
      141        Callyo Records – 2018-11-04_23-25-   VILLAGOMEZ-
14               09_PST_9d72_01.txt                   RECORDINGS-
                                                      000473
15    142        Callyo Records – 2018-11-05_07-02-   VILLAGOMEZ-
                 56_PST_9c52_01.txt                   RECORDINGS-
16                                                    000474
      143        Callyo Records – 2018-11-05_07-17-   VILLAGOMEZ-
17               07_PST_ae88_01.txt                   RECORDINGS-
                                                      000475
18    144        Callyo Records – 2018-11-05_07-17-   VILLAGOMEZ-
                 22_PST_7249_01.txt                   RECORDINGS-
19                                                    000476
      145        Callyo Records – 2018-11-05_07-18-   VILLAGOMEZ-
20               13_PST_fc7e_01.txt                   RECORDINGS-
                                                      000477
21
      146        Callyo Records – 2018-11-05_07-18-   VILLAGOMEZ-
                 39_PST_dbd1_01.txt                   RECORDINGS-
22
                                                      000478
23    147        Callyo Records – 2018-11-05_08-43-   VILLAGOMEZ-
                 28_PST_59ca_01.txt                   RECORDINGS-
24                                                    000479
      148        Callyo Records – 2018-11-05_08-57-   VILLAGOMEZ-
25               28_PST_d79c_01.txt                   RECORDINGS-
                                                      000480
26    149        Callyo Records – 2018-11-05_09-21-   VILLAGOMEZ-
                 15_PST_7efd_01.txt                   RECORDINGS-
27                                                    000481
      150        Callyo Records – 2018-11-05_09-48-   VILLAGOMEZ-
28               24_PST_2a1c_01.txt                   RECORDINGS-
                                                      000482
     GOV’T FIRST AMENDED EXHIBIT LIST                 9
     18-CR-599 VC
                Case 3:18-cr-00599-VC Document 220 Filed 03/12/22 Page 10 of 10




 1    Exhibit    Description                             Bates Range     Date Marked        Date Admitted
      151        Callyo Records – 2018-11-05_10-31-      VILLAGOMEZ-
 2               03_PST_0850_01.txt                      RECORDINGS-
                                                         000483
 3    152        Callyo Records – Translated text        VILLAGOMEZ-
                 messages                                RECORDINGS-
 4                                                       000484-85
      153        Callyo Records – Translated text        VILLAGOMEZ-
 5               messages                                RECORDINGS-
                                                         000486-87
 6    154        DEA Report re: Angel Rosario dated      VILLAGOMEZ-
                 2-25-22                                 001211-12
 7    155        Affidavit of Bernadette Yee re: Angel   VILLAGOMEZ-
                 Rosario                                 001213
 8    156        Email from Angel Rosario /
                 Probation file
 9    157        Certified court records from San        VILLAGOMEZ-
                 Diego Superior Court re: SCS274418,     00328-97
10               S301653
      158        San Diego County Probation              VILLAGOMEZ-
11               Department Records                      000470-859
      159        Declaration of T-Mobile custodian of    VILLAGOMEZ-
12               records Barbara Smith                   001247
      160        T-Mobile subscriber information for     VILLAGOMEZ-
13               phone number ending 3637                001253
      161        T-Mobile subscriber information for     VILLAGOMEZ-
14               phone number ending 3594                001254
      162        CBP booking photo of Isai               VILLAGOMEZ-
15               Villagomez, 8/29/2014                   001262
      163        CBP photo of methamphetamine in         VILLAGOMEZ-
16               vehicle, 8/29/2014                      001267
      164        CBP photo of methamphetamine            VILLAGOMEZ-
17
                 seized from vehicle, 8/29/2014          001268
18    165        CBP incident report for incident        VILLAGOMEZ-
                 2014SA002767002                         001284–001291
19

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21 DATED: March 11, 2022                                          Respectfully submitted,

22                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
23

24
                                                                  ________/s/________________
25                                                                ANKUR SHINGAL
                                                                  ZACHARY G.F. ABRAHAMSON
26                                                                Assistant United States Attorneys
27

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     GOV’T FIRST AMENDED EXHIBIT LIST                    10
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